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                               IN TI{E LINITED STATES DISTRICT COURT
                                      DISTRICT OF NEW MEXICO



TINITED STATES OF AMERICA,

         Plainriff,

v.                                                                       Case    No. l:16-CR-4571 JCH

GUY ROSENSCHEIN,

         Defendant.



                                  SECOND DEEI,ARATION OF JOIilI SIIEHAN


         I, JOHN SHEHAN, hereby state and declare             as   follows:

         1.           I am currently employed   as Vice President of the      Exploited Children Division ("ECD") at The

National Cenrer for Missing and Exploited ChildrenE'("NCMEC"). I have been employed by NCMEC since

February 2000. As Vice President, I am responsible for supervising NCMEC's CyberTiplinen.                     I am familiar

with the operations of the CyberTipline, including the procedures involving the receipt and processing of

reports by NCMEC and the procedures used to generate and maintain reports. The information contained in

this declaration is based on my own personal knowledge and information to which                  I   have access in my role

as Vice President of      ECD for NCMEC.

I.      NCMEC Backgound

         2.           NCMEC is a private, nonprofit corporation, incorporated under the laws of the District of

Columbia. It was created to help find missing children, reduce child sexual exploitation, and prevent child

victimization. NCMEC seryes as the national clearinghouse for families, victims, pdvate industry, law

enforcemcnt, and other professionals on information and programs related to missing and exploited children

issues. NCMEC employs over 325 individuals and works with hundreds of volunteers to facilitate outreach

and community child safety events nationwide.




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U.      NCMEC's CyberTiplinc

        3.      NCMEC beganoperating the CyberTipline on March 9,1998, to serve as the national online

clearinghouse for tips and leads about child sexual exploitation. The CyberTipline was developed to further

NCMEC's mission to help prevent and diminish the sexual exploitation of children by allowing members of

the public and electronic service providers ("ESPs") to report apparent child sexual exploitation. NCMEC

does not investigate   or independently confirm the acctracy of information submitted to the CyberTipline.

NCMEC acts only     as a clearinghouse when processing CyberTipline reports.

        4.     A   secure CyberTipline was created in February 2000 to facilitate the reporting of apparent

child pornography by ESPs. ESPs that voluntarily choose to register with NCMEC can submit CyberTipline

reports using a secure electronic connection that enables them to upload content with their reports    if   they

choose to do so. ESPs that choose not to register with the CyberTipline can submit a report through the online

mechanism available to the public at www.cybertipline.org or by calling NCMEC's toll-free telephone

number, 1-800-THE-LOST. Content cannotbe uploaded with repons made through www.cybertipline.org

or 1-800-THE-LOST.

        5.     NCMEC requires that ESPs and members of the public select an Incident Type and Incident

date and time when submitting a CyberTipline report. The Incident Type is a drop-down box from which the

reporting party can select one of following categories: Child Pornography (possession, manufacture, and

distribution); Online Enticement of Children for Sexual Acts; Child Sex Trafficking; Child Sexual Molestation

(not by family member); Child Sex Tourism; Misleading Domain Name; Misleading Words or Digital Images

on the Internet; and Unsolicited Obscene Material Sent to a Child. The Incident Type selected by the ESP or

member of the public is included in Section A of the CyberTipline.

       6.      NCMEC staffcan reclassifu the Incident Type based on their review of the report. NCMEC

staff select a reclassification from a drop-down box that includes categories such as: "appears adult;" "child

images (clothed);" "child images (unclothed);" and "Unconfirmed-Files Not Reviewed by NCMEC."

NCMEC's reclassification of an Incident Type is included in Section C of the CyberTipline (as "NCMEC

Classification") and in the Executive Summary of a CyberTipline report (as "Incident Type").

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        7.      NCMEC staffdo not open or view every file uploaded in a CyberTipline report. If NCMEC

staff processed a CyberTipline report but have not opened or viewed the uploaded frle(s), then they select

"IJnconfirmed-Files Not Reviewed by NCMEC" as the reclassified Incident Type. This selection then

appears as the "Incident Type" in the Executive Summary and as the          "NCMEC Classification" in Section C

of the CyberTiplinc report. The "Unconfirmed-Files Not Reviewed by NCMEC" designation indicates that

NCMEC staffhave not opened or viewed any uploaded files and does not reflect whether or not an uploaded

file depicts apparent child sexual exploitation.

m.      Law Enforcement Feedback

        8.      After a CyberTipline report has been made available to law enforcement, NCMEC may

request feedback to help inform NCMEC staff on the handling of CyberTipline reports. This is done to

provide staff with closure regarding the reports they are processing and to assist with staff morale. While

NCMEC provides a mechanism for law enforcement to voluntarily provide feedback, this is not required, and

feedback is received for only a small fraction of the CyberTipline reports made available to law enforcement.

        9.       NCMEC shares law enforccment feedback, to the extcnt it is rcceivcd, with ESPs on the

CyberTipline reports they submit. This is done for the same reason that feedback is shared with NCMEC

staff- to provide closure regarding the repots ESPs are submitting and to assist with the staffmorale of ESPs'

content moderators.

w.      Hash Sharing Initiatives

        16.     When an ESP voluntarily uploads a file depicting apparent child pornography to                          a


CyberTipline report, NCMEC uses hashing technology, including PhotoDNA ("PDNA") to create a hash

value of the uploaded   file, Hashing technology      creates an alphanumeric sequence, called a hash value, that

is unique ro a particular digital   file. Hash values can be used to detect duplicates of identical digital   images.

       17.      NCMEC offers        a Hash Sharing   Initiative through which ESPs can voluntarily elect to receive

from NCMEC a set of hash values, including PDNA hashes referred to as signatures, of apparent child

pornography image and video files to help reduce child sexual exploitation and prevent the continued

dissemination of child sexual abuse images.


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                                                                           criteria: (1) the hash values are
      lg.         NCMEC,s Hash List is compiled according to the following
                                                                (2) the uploaded files were marked as viewed
derived from files uploaded by an ESP in a cybcrTipline report;
                                                                          resolved to an international location;
by the ESP or were marked as publicly available by the ESP, or the report

                                                                           being subjected to sexual abuse;
and (3) the uploaded files depict an appalent prepubescent child or infant
                                                                   as subjected to sexual abuse' Law
and/ora pubescent child who has been identifred by law enforcement

enforcement does not contribute to NCMEC',s Hash Sharing Initiative'

       lg.ThereisalsoanlndustryHashSharingPlatform,whereEsPscansharetheirownhashlists
                                                                            and does not include NCMEC's
with each other. This is separate from NCMEC's Hash Sharing Initiative
                                                                        Hash Sharing Platform are compiled
Hash List. Hash lists voluntarily contributed by ESPs to the Industry
                                                                 relating to the evaluation of apparent child
according to their own internal business practices and standards
                                                                               any hashes that an ESP may
pomography images. NCMEC does not vet, review' approve or remove

voluntarily choose to submit to the Industry Hash Sharing Platform'
                                                                                                             and
                                                             of the United States that the foregoing is true
         I   declare under penalty of perjury under the laws

 correct to the best of my knowledge.


         DATED: Alexandria, Virginia,         ft"" ]{   , ZOtS




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 COMMONWEALTH OF VIRGINIA                        )                             N OTARY    PUBL   I

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 ALEXANDRIA CITY                                 )                       MY co             to EX PI BE S

                                                                 of                                            Counfy,
             Signed and sworn to before me, a Notary Public'
                                        al
 Virginia, by John    Shehan   ,   onthisll   day of June, 2018'




             Notary Public




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